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               UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                        SAVANNAH DIVISION
UNITED STATES OF AMERICA           )
                                   )
v.                                 )          CR417-262
                                   )
DEONTA YOUNG                       )

                                 ORDER

      Defendant Deonta Young’s counsel has moved the Court to order a

psychological examination to evaluate his competence to stand trial,

pursuant to 18 U.S.C. § 4241(a). Doc. 43. The Government does not

oppose the motion. Doc. 93. Nevertheless, the Court requires a more

substantial showing before it will order such an examination.

      Young is one of several defendants in this drug-conspiracy case.

See doc. 2-2 (Indictment); doc. 43 at 1, ¶ 1. Young’s motion states that

his father “indicated” to counsel that Young suffers from “a mental

defect and does not fully understand what he is charged with.” Doc. 43

at 1, ¶ 2.   Counsel also volunteers that he “has reasonable cause to

believe” that defendant may not be competent to stand trial. Id. at 2,

¶ 2. He also asserts that his client “is mentally incompetent to stand

trial as a result of a mental disease or defect which impairs his present

ability to consult with his lawyer with a reasonable degree of rational
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understanding and assist properly in his defense.” Id. at 3. The motion,

he explains, is brought “in good faith as a result of several interviews

conducted with” Young. Id. While the Court does not doubt counsel’s

good-faith basis for the motion, more factual support is required.

     Section 4241(a) mandates granting a competency examination if the

court finds “reasonable cause” to doubt a defendant’s competency. Id.

The court may rely on factual assertions in a motion for an evaluation

and defense counsel’s opinion, but the statute “does not automatically

require an order for psychiatric examination on every unsupported

suggestion of possible mental problems.”      United States v. Geier, 521

F.2d 597, 600 (6th Cir. 1975); see also United States v. Zavesky, 839 F.3d

688, 693 (8th Cir. 2016) (“Defendant’s counsel’s opinion on competency

should receive significant weight since counsel, perhaps more than any

other party or the court, is in a position to evaluate a defendant’s ability

to understand the proceedings.” (quotes and cite omitted)); United States

v. Crosby, 739 F.2d 1542, 1546 (11th Cir. 1984) (noting that former Fifth

Circuit relied upon “the bare factual statements of the motion [for a

competency evaluation] itself, which alone were sufficient to constitute




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reasonable cause” to question defendant’s competency (emphasis added)

(quotes and cite omitted)).

     The assertions made in Young’s motion are simply not assertions of

fact, they are statements of conclusions and hearsay. The Court accepts

the likelihood that there are factual observations behind Young’s father’s

and counsel’s concerns with his competency, but they are not presented

in the motion. Counsel is, therefore, DIRECTED to supplement his

motion within 14 days from the date of this Order and provide the facts

motivating the stated concerns for defendant’s competency.

     SO ORDERED, this 9th day of March, 2018.




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